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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH




                                                    JUDGMENT IN A CIVIL CASE
  IN RE: THE CHURCH OF JESUS CHRIST
  OF LATTER-DAY SAINTS TITHING
                                                        2:24-md-03102-RJS-DAO
  LITIGATION
                                                   Chief District Judge Robert J. Shelby
        This document relates to all actions.
                                                 Chief Magistrate Judge Daphne A. Oberg




       IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered in favor of

 Defendants.

       SO ORDERED this 17th day of April 2025.


                                                 BY THE COURT:


                                            ________________________________________
                                            ROBERT J. SHELBY
                                            United States Chief District Judge
